                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

  UNITED STATES OF AMERICA

  v.                                                   Case No.:      2:23-CR-00111


  SEAN CHRISTOPHER WILLIAMS


            MOTION TO CONTINUE TRIAL AND ALL OTHER DEADLINES

        1. This case is scheduled for a trial for August 27, 2024, for at least a four-day trial.

        2. The Defendant is representing himself with the help of the elbow counsel and an

           investigator.

        3. On July 15, 2024, the computer expert previously appointed by this court advised the

           elbow counsel that he will not continue as an expert because the Defendant is

           representing himself. The computer expert has advised that he has not addressed

           anything nor reviewed anything.

        4. On August 1, 2024, the elbow counsel arranged for a zoom meeting with a potential

           computer expert for the defense to substitute previously appointed expert by the

           Court.

        5. After an extensive meeting on August 1, 2024, the potential expert advised the elbow

           counsel and the Defendant that his expertise would not cover the things the Defendant

           has inquired into.

        6. It will take time to find a computer expert that is not only willing but is able to

           provide the necessary expertise for proper defense. The expert’s opinions would need

           to be reviewed for the purposes of the trial.




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           7. The Defendant also has an extensive list of things that the court appointed

              investigator needs to acquire and that will take additional time.

           8. It would be impossible to properly prepare a defense without a computer expert and

              the things the private investigator must acquire. It would be unfair for the Defendant

              to proceed otherwise.

           WHEREFORE, premises considered the Defendant moves for the continuance of the

  trial.

                                                        SEAN CHRISTOPEHR WILLIMAS

                                                        /s/Sean Christopher Willimas, pro se
                                                        Sean Christopher Willimas, Pro se
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                                                        Maryville, TN, 37804-5002



                                            CERTIFICATE

        Sent via email from elbow counsel to grvlclerk@tned.uscourts.gov for filling and to
  meghan.gomez@usdoj.gov and emily.swecker@usdoj.gov on August 1, 2024.




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